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MINUTE ENTRY
VITTER, J.
JANUARY 4, 2022
JS 1:30

                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                               CRIMINAL ACTION

VERSUS                                                 NO. 19-118-WBV-DMD

TRAVIS LAMONT MURRAY                                   SECTION: “D” (3)

            TRIAL PREPARATIONS AND PROCEDURES ORDER
      On January 4, 2022, the Court held a Final Pretrial Conference in this matter.

      PRESENT:

             Jerrod E. Thompson-Hicks, Claude J. Kelly1
             Counsel for defendant, Travis Lamont Murray

             Frank Rangoussis, Kathryn McHugh
             Counsel for the Government

             Alexis Vice
             Court Reporter


      IT IS HEREBY ORDERED:

      1. The jury trial of this matter shall commence at 9:00 a.m. on January 24,

          2022. Estimated length of trial is five (5) days. Counsel shall attend a

          conference with the Court at 8:30 a.m. to resolve any issues that need to be

          addressed before trial begins. Each trial day after the first will begin at




1With the permission of the Court, defense counsel appeared by Zoom video conference.   The
Government voiced no objection to their appearance via video conference.
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    either 8:30 a.m. or 9:00 a.m., depending upon the preference of the jury

    (counsel must be present in court 30 minutes prior), and will conclude at

    approximately 5:00 p.m. The jury will be selected on that date. The jury

    will be composed of twelve (12) jurors and three (3) alternates. Each

    party will have three peremptory challenges.

 2. The parties will each be allowed 25 minutes for opening statements.

 3. The Government shall have until 12:00 p.m. on Thursday, January 6,

    2022 to advise the Court of any objections to Defendant’s proposed voir dire

    questions, which were emailed to the Court on May 7, 2021. Any objections

    shall be sent to the Court’s email address, efile-Vitter@laed.uscourts.gov.

 4. The parties shall have until Friday, January 7, 2022 to provide the Court

    with a Word version of their proposed voir dire questions and their joint,

    proposed jury instructions, which were previously emailed to the Court on

    May 7, 2021. The parties may email this to the Court’s email address, efile-

    Vitter@laed.uscourts.gov.

 5. The Court will provide counsel with a copy of its voir dire questions and

    proposed jury instructions before trial.      Counsel shall be prepared to

    attend a charge conference after dismissal of the jury on Tuesday,

    January 25, 2022 and/or Wednesday, January 26, 2022 to review

    and discuss the proposed jury instructions.

 6. The parties shall have until 12:00 p.m. on Friday, January 14, 2022 to

    provide supplemental briefing regarding the proposed jury instruction
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    regarding aggravated sexual abuse, and whether unanimity is required on

    each element. Any supplemental brief shall be limited to five (5) pages.

 7. The parties shall have until Friday, January 14, 2022 to file an electronic

    copy of their joint, proposed jury verdict form.

 8. On or before Friday, January 14, 2022, counsel shall confer and

    electronically file a joint statement of the case to be read to the jury venire.

    This statement should be brief, approximately two to three sentences, to

    give the venire an overview of the basis of the case.

 9. For the reasons stated during the Pretrial Conference, the Court finds that

    good cause exists to modify the Amended Scheduling Order (R. Doc. 152)

    with respect to the deadline to file agreed upon stipulations. The parties

    shall have until Friday, January 14, 2022 to file an electronic copy of any

    agreed upon stipulations.

 10. The Government shall have until Monday, January 17, 2022 to advise

    the Court via email whether any proposed exhibits will be withdrawn as a

    result of any agreed upon stipulations.

 11. If Exhibit No. 51 is not withdrawn by the Government as a result of any

    agreed upon stipulations, Defendant shall have until 12:00 p.m. on

    Tuesday, January 18, 2022 to advise the Court via email what additional

    information needs to be redacted from Exhibit No. 51.

 12. Counsel shall exchange any demonstrative exhibits that they intend to use

    in opening statements by 12:00 p.m. on Friday, January 21, 2022.
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      Counsel are to make an appointment with Case Manager Melissa Verdun (504-

589-7708) the week prior to trial to familiarize themselves and their support staff

with the courtroom technology if they are not already experienced in its use.

      If needed during trial, counsel are invited to use the Michaelle Pitard Wynne

Attorney Conference Center located in Room B-245 on the second floor of the Hale

Boggs Federal Building near the crossover to the Courthouse. The space features

three private conference rooms, a lounge, and a computer workroom with internet,

copy, fax, and print services. Details and information on these services including

conference room reservations can be found at http://nofaba.org or by contacting the

Executive Director at 504-589-7799 or fbaneworleans@gmail.com.

      New Orleans, Louisiana, January 4, 2022.



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                                       WENDY B. VITTER
                                       UNITED STATES DISTRICT JUDGE
